DATECase 4:17-cr-00217-MAC-CAN
           11/16/2018          Document 40 Filed 11/16/18
                                  CASE NUMBER              Page 1 of 1 PageID #: 121
                                                      4:17cr217(1)
LOCATION PLANO/BMT                                    Tracey Batson        Assigned
JUDGE       Marcia Crone                VS            Tracey Batson        Appeared
DEPUTY CLERK Bonnie Sanford
RPTR/ECRO       Tonya Jackson                  WILLIAM BROWN
USPO Robert Long                                           Defendant
INTERPRETER: not required
                                                                                               Denise Benson
                                                                                                    Attorney
BEGIN 2:23 pm / 2:38 pm
                                                          VIDEO SENTENCING
X......           Video Sentencing held

   CT     CUSTODY               FINE             REST                JVTA              SUP/REL               CC/CS   W/CT   SP/ASSESS

  1       87 months                                                                 3 years                                   $100.00




Objection overruled.

The court adopts the facts as set forth in the presentence report.


The court recommends drug treatment while incarcerated.

Govt motion to dismiss remaining count granted.
The court recommends FCI Texarkana, TX.



Defendant remanded to US Marshal.




X......           Dft advised of right to appeal plea and/or sentence, and apply for court appointed counsel.




CRIM 92-118                                              G See reverse/attached for additional proceedings                        Adjourn
